  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JOHN CARROLL,                 )
                              )
     Plaintiff,               )
                              )       CIVIL ACTION NO.
     v.                       )         2:17cv565-MHT
                              )              (WO)
MATT HORNE, in his            )
official and individual       )
capacities,                   )
                              )
     Defendant.               )

                           JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The       United    States    Magistrate      Judge's

recommendation (doc. no. 23) is adopted.

    (2) Defendant’s motion to dismiss (doc.        no. 8)   is

granted.

    (3) This lawsuit is dismissed without prejudice.

    (4) All other pending motions are denied as moot.

    It is further ORDERED that costs are taxed against

plaintiff, for which execution may issue.
    The clerk of the court is DIRECTED to enter this

document   on   the    civil     docket   as   a   final   judgment

pursuant   to   Rule   58   of    the   Federal    Rules   of   Civil

Procedure.

    This case is closed.

    DONE, this the 10th day of July, 2018.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
